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                  Exhibit R
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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND


       STATE OF MARYLAND, ET AL.,

                   Plaintiffs,
                                                                 Case No.: 1:25-cv-
                       v.

     UNITED STATES DEPARTMENT OF
         AGRICULTURE, ET AL.,

                  Defendants.




                            DECLARATION OF

I,                   swear under penalty of perjury,

     1. My name is                    and I am an adult resident of                   MD.

     2. I began working for the Department of Labor (“DOL”) as an



               on approximately April 22, 2024. My duty station was Washington, D.C.

     3. From the date of my hire, DOL classified me as a probationary employee. My

        probationary period was one year, or until approximately April 21, 2025.

     4. On February 20, 2025, I received by email a Notification of Termination During

        Probationary Period (“Termination Notice), signed by                    stating that DOL

        was terminating my employment, effective March 7, 2025. The Termination Notice

        states as the reason for my termination: “The Agency finds your further employment

        would not be in the public interest.” See Exhibit 1. The notice did not identify any issue

        with my performance or conduct, nor did it identify any conditions arising before my

        appointment to justify my termination.

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   5. The February 20, 2025 Termination Notice was the first I had learned of my termination.

      If I had more warning, I would have started looking for a new position immediately.

   6. I know of several other probationary employees at DOL that received this same

      termination letter. I believe DOL terminated around 200 probationary employees on or

      around February 20, 2025.

   7. I am now unemployed. I plan to apply for unemployment insurance benefits with the

      D.C. government and may also apply for Medicaid and SNAP benefits.

   8. I can no longer afford to support the local economy in the same way. For example, I am

      disabled and used to pay someone to help me around the house a couple hours per week,

      something I can now no longer do. I will also need to reduce my discretionary income,

      like going to the movies or buying new household items.

   9. As a resident of Maryland, I pay income taxes to the state of Maryland. Each pay period,

      DOL withheld and paid income taxes from my paycheck to the state of Maryland.

   10. I was a

   11. Before I was terminated, my job duties as




   12. In the ten months I worked at DOL, I received one performance review in October 2024.

      My performance rating was Outstanding.

Dated: March 4, 2025                               Signed:




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                                    *A copy of the signature page bearing an
                                    original signature is attached hereto.




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                  Exhibit 1
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